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                       Exhibit A
Case: 20-1941Case
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                         UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT
                         ___________________________________

                                     No. 20-1941
                         ___________________________________

          VINCENT CHIARELLI; ANTHONY WEISSENBURGER; KEVIN FRY;
          SHAUN COONEY; RICHARD SILVER; MICHELLE LIM STEWART;
            MICHELE MASZON; SARAH DUNCAN; PHILIP DRAGONETTI;
            LISA SUROWIEC; JOHN COMPTON; JUDY WEISSENBURGER;
                             CLINTON STEWART

                                     Plaintiffs - Appellees

                                               v.

                                NISSAN NORTH AMERICA

                                     Defendant - Appellee

                                NISSAN MOTOR CO., LTD.

                                          Defendant

                                    BETH WILLIAMSON

                                Interested Party – Appellant
                         ____________________________________

                       NOTICE OF WITHDRAWAL OF APPEAL

            Interested Party-Appellant, Beth Williamson, hereby gives notice to the Court

      and Appellees that she hereby withdraws her Notice of Appeal filed on September

      28, 2020 and requests that the within appeal be dismissed.

            Dated: December 3, 2020.
Case: 20-1941Case
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                                                          01/07/21          Entry
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                                          Respectfully submitted,


                                          /s/ Beth Williamson
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                                          1520 NE 4th Place
                                          Fort Lauderdale, FL 33301
                                          (954) 336-4125
                                          beth.sarah.williamson@gmail.com




                              CERTIFICATE OF SERVICE

            I CERTIFY that a true and correct copy of the foregoing was served via

      CM/ECF on all counsel of record on December 3rd, 2020.


                                          /s/ Beth Williamson
                                          Beth Williamson, pro se




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